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St. Joseph ‘s Hospital and Medical Center
and St. Joseph ‘s Healthcare System, Inc.


                                                         UNITED STATES DISTRICT COURT
                                                         FOR THE DISTRICT Of NEW JERSEY


DONNA GARBACCIO, individually and on                       Civil Action No. 2:16-cv-02740-JMV-JBC
behalf of all others similarly situated,                        Honorable John Michael Vazquez
                                                                  Honorable James B. Clark, III
                                            Plaintiff,
V.                                                           ORDER CONSOLIDATING CASES,
                                                         GRANTING PLAINTIFFS LEAVE TO FILE
ST. JOSEPH’S HOSPITAL AND MEDICAL                            A CONSOLIDATED COMPLAINT,
CENTER AND SUBSIDIARIES, a New Jersey                    EXTENDING TIME FOR DEFENDANTS TO
Nonprofit Corporation, ST. JOSEPH’S                      ANSWER, MOVE OR OTHERWISE PLEAD
HEALTHCARE SYSTEM, INC., a New Jersey                      AND SETTING DEADLINES FOR ANY
Nonprofit Corporation, JOHN AND JANE DOES                   PRE-ANSWER MOTIONS FILED BY
1-20, MEMBERS Of THE COMMITTEE THAT
                                                                    DEFENDANTS
ADMINISTERS THE ST. JOSEPH’S HOSPITAL
AND MEDICAL CENTER PENSION PLAN,
each an individual, JOHN AND JANE DOES 1-40,
MEMBERS Of THE EXECUTIVE FINANCE
COMMITTEE Of THE BOARD OF TRUSTEES,
each an individual, and JOHN AND JANE DOES
4 1-60,

                                       Defendants.




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MARY LYNN BARKER, ANI’JE MARIE DALIO, :                          Civil Action No. 2:16-cv-02748-JLL-JAD
AND DOROTHY FLAR, individually and on                  :                 Honorable Jose L. Linares
behalf of themselves and all others similarly          :               Honorable Joseph A, Dickson
situated,
                                           Plaintiffs,
V.


ST. JOSEPH’S HEALTHCARE SYSTEM, INC.,
ST. JOSEPH’S HOSPITAL AND MEDICAL
CENTER d/b/a ST. JOSEPH’S REGIONAL
MEDICAL CENTER, THE ST. JOSEPH’S
REGIONAL MEDICAL CENTER PENSION
PLAN COMMITTEE and JOHN DOES 1-20,

                                           Defendants.



         These matters having been opened to the Court by McCarter & English, LLP and by

Proskauer Rose LLP, attorneys for defendants St. Joseph’s Hospital and Medical Center and St.

Joseph’s Healthcare System, Inc.;’ and it appearing that plaintiff Garbaccio has filed a motion for

consolidation and appointment of lead plaintiff and co-lead counsel [Docket No. 8, filed

 05/27/16 in Barker; Document 14, filed 05/27/16 in Garbaccio]; and it further appearing that

plaintiffs Barker, Dalio and F lar have pending a motion for entry of proposed Pretrial Order No.

 I consolidating cases, establishing procedures for consolidation of future-filed cases, and

 appointing interim co-lead class counsel; [Docket No. 24, filed 06/21/16 in Barker; Document

No. 29, Filed 06/21/16 in Garbaccio]; and attorneys for defendants having represented that the

 attorneys for plaintiff Garbaccio and for plaintiffs Barker, Dalio and Flar have no objection to the

 form and entry of the within Order; and all parties stipulating that the within matters should be

 consolidated; and good cause appearing;

          ITISthis       a        day of     j’I..j            ,2016

          ORDERED that:



          The defendants do not concede that all defendant parties are named properly.

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               1.         The within cases be and they hereby are consolidated and are assigned to the

    Honorable District Judge Jc,                1)   h c\ \         Z and the Honorable Magistrate Judge

   5u.i C1aI’k)             1J’
               2.         Plaintiffs be and they hereby are granted leave, within 30 days after the Court

    rules on the pending motion for consolidation and appointment of lead plaintiff and co-lead

    counsel, to file a Master, Consolidated Complaint;

               3.         The time for defendants to Answer, Move or Otherwise Plead be and hereby is

    extended through and including 60 days after the filing of the Master, Consolidated Complaint;

               4.         If defendants file any pre-answer motions, plaintiffs shall file and serve their

    opposition to defendants’ pre-answer motions within 60 days after defendants file any such pre

    answer motions; and

               5.         Defendants shall file and serve any reply papers in support of any pre-answer

    motions filed by defendants within 30 days after the filing of plaintiffs’ opposition to any pre

    answer motions filed by defendants.

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                                            i                              Hon. James B. Clark, III, U.S.M.J.
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EH L i.    1                      .1   \                                   Hon. Joseph A.
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